      .
                    Case: 4:24-cv-00703-NCC                                             Doc. #: 1-1                      Filed: 05/20/24                         Page: 1 of 1 PageID #: 17
     JS 44 (Rev. 04/21)                                                                 CIVIL COVER SHEET
     The JS 44 civ il cover sheet and the information contained herein ne ither replace nor supplem ent the fi lin g and service of pleadings or other pape rs as required by law, except as
     provided by local rules of court . This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court fo r the
     purpose of initiating the civil docket sheel. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
     I. (a) PLAINTIFFS                                                                                                           DEFENDANTS



          (b) County of Residence of First Listed Plainti ff
                                        (EXCEPT IN U.S. PLAINTIFF CASES)
                                                                               af: Lot,,Vi5                                      County of Residence of First Listed Defendant
                                                                                                                                                           (IN U.S. PlAJNTIFF CASES ONLY)
                                                                                                                                 NOTE:        IN LA ND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                              THE TRACT OF LAND INVOLVED.

       ( C)    Attorneys (Firm Nome, Address, and Telephone Number)                                                               Attorneys (If Known)




    II. BASIS OF JURISDICTION~                                     eon "X" in One Box Only)                     Ill. CITIZENSHIP OF PRI CJPAL PARTIES (Place an "X" in One Box/or Plaintiff
                                                                                                                            (For Diversity Coses Only)                                           and One Box for Defendant)
 0     I     U.S. Government                  ~              era! Question                                                                           PT J:/' DEF                                                    PTF
               Plaintiff                                    (U.S. Government Not a Party)                             Citizen of This State         [Q"i        I   O          Incorporated or Principal Place      0
                                                                                                                                                                                  of Business In This State

 0     2     U.S. Government                 D 4 Diversi ty                                                           Citizen of Another State              02      0     2    Incorporated and Principal Place             0           O>
                Defendant                                   (Indicate Citizenship of Parties in Item Ill)                                                                        of Business In Another State

                                                                                                                      Citizen or Subject of a               03      03         Foreign Nation                               0     6     06
                                                                                                                        Foreign Country
    JV. NATURE OF SUIT Place on "X" in One Box Only)                                                                                                                                                           de Descri tions.
                                                                              TORTS                                        ORFEITURE/PENA"LTY. •                                                              OTH"ER•STATUTES




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       I IO Insurance                                                              PERSONAL INJURY                       625 Drug Related Seizure                                                           375 False C laims Act
      120 Marine                                  310 Airplane                  0 365 Personal Injury -                      of Property 2 1 USC 88 1                                                       376 Qui Tam (31 USC
      130 Miller Act                              3 l 5 Airplane Product                Product Liability                690 Other                                                                              3729(a))
      140 Negotiable Instrument                         Liability               0 367 Health Care/                                                           1-:-:= =========-;,7                           400 State Reapportionment
0     150 Recovery of Overpayment                 320 Assault, Libel &                 Pharmaceutical                                                        1=;:::::::..:::== ====== ~~ 410 Antitrust
           & Enforcement of Judgment                    Slander                        Personal Injury                                                                                                              430 Banks and Banking
0     15 1 Medicare Act                           330 Federal Employers'               Product Liability                                                                                                            450 Co1UD1erce
0     152 Recovery of Defaulted                         Liability               0 368 Asbestos Personal                                                               835 Patent - Abbreviated                      460 Deportation
            Student Loans                         340 Marine                            Injury Product                                                                       New Drug Application                   470 Racketeer ln0uenced and
            (Excludes Veterans)                                                         Liability                                                                     840 Trademark                                     Corrupt Organizations
0     153 Recovery of Overpayment                     Liability                  PERSONAL PROPERTY                                       n                            880 Defend Trade Secrets                      480 Conslllller Credit
           of Veteran's Benefits                  350 Motor Vehicle             0 370 Other Fraud                        7 10 Fair Labor Standards                           Act of20 ]6                                (15 USC 168 1 or 1692)
0     160 Stockholders' Suits                                                   0 37 1 Truth in Leading                       Act                                                                                   485 Telephone Consumer
0     190 Other Contract                                Product Liabi li ty     0 380 Other Persoaal                     720 Labor/Management                l-=c=-s""oe=:-::1""-i:::-L-,S"'E""c=u-=R""JTY="'r= ~ -     Protection Act
0     195 Contract Product Liability                  0 Other Personal                 Property Damage                        Relations                               86 1 HIA ( 1395fl)
0     I 96 Franchise                                    Injury                  0 385 Property Damage                    740 Railway Labor Act                        862 Black Lung (923)                          850 Securities/Commodities/
                                                        Personal Injury -              Product Liability                 75 I Family and Medical                      863 DfWC/DIWW (405(g))                            Exchange
                                                                                                                              Leave Act                               864 SS ID Title XVI                           890 Other Statutory Actions
i-=;=:=~=~c....:..:==== =4':::;:::=,;:===,=== =:::+-.:cp.:cR:..:l;:.S;:_O.:...N:.::E:..:R.:.:'.l!f.=T=lT:..:l:..:O:..:N..cS= F(790 Other Labor Litigation             865 RS I (405(g))
   2 10 Land Condemnation                                    H abeas Cor pus:                                                   79 1 Employee Retirement
0 220 Foreclosure                                            463 Al ien Detainee                                                     Income Security Act


§  230 Rent Lease & Ejectment
   24 0 Torts to Land
   245 Tort Product Liability
0 290 All Oth er Real Property
                                442 Employment
                                443 Housing/
                                      Accommodations
                                445 Amer. w/Disabilities -
                                                             5 10 Motions to Vacate

                                                             530 General
                                                                        Sentence

                                                             535 Death Penalty
                                                                                                                                                                   870 Taxes (U.S. Plaintiff
                                                                                                                                                                        or Defendant)
                                                                                                                                                                   87 l IRS- Turd Party
                                                                                                                                                                         26 USC 7609
                                                                                                                                                                                                           899 Administrative Procedure
                                                                                                                                                                                                               Act/Review or Appeal of
                                      Employment             Other :                                                                                                                                           Agency Decision
                                446 Amer. w/Disabi lities -  540 Mandamus & Other                                                                                                                          950 Constitutionality of
                                      Other                  550 Civil Rights                                                        Actions                                                                   State Statutes
                                                             555 Prison Condition
                                                             560 Civi l Detainee -
                                                                        Conditions of
                                                                        Confinement
                GIN (Place on "X" in One Box Only)
           Origina l         02 Removed from                         03        Remanded from                0 4 Reinstated or O 5 Transferred from 0 6 Multidistrict                                             0 8 Multidistrict
           Proceeding                State Court                               Appellate Court                       Reopened                                                         Litigation -                       Litigation -
                                                                                                                                                                                      Transfer                           Direct File




VII . REQUESTED IN
      COMPLAI T:
VIII. RELATED CASE (S)
                                                  0      CHECK If TH IS IS A C LASS ACTION
                                                         UNDER RULE 23, F R.Cv P
                                                                                                                        DEMAND S
                                                                                                                                                            a
                                                       (See instruc1ions) :
              IF ANY




                                                                                        APPLY ING IFP                                          JUDGE                                   MAG . JUDGE
